Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 1 of 11 PageID: 3606




                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY

  Commodity Futures Trading Commission,           )
                                                  )
                               Plaintiff,         )   Civil Action No. 3:23-cv-11808
                                                  )
  v.                                              )
                                                  )   Judge Zahid N. Quraishi
  Traders Global Group Inc., a New Jersey         )
  corporation, d/b/a “My Forex Funds”;            )   The Parties’ Joint Proposed Rule
  Traders Global Group Inc., a Canadian           )   26(f) Discovery Plan
  business organization; and Murtuza              )
  Kazmi,                                          )
                                                  )
                                                  )
                               Defendants.        )


       1.     The name of each attorney appearing, the firm name, address and
 telephone number of each, designating the party represented, is set forth in the
 signature block below.

       2.     Brief description of the case, including the causes of action and
 defenses asserted:

  CFTC’s Description of Causes of Action

  Plaintiff CFTC has brought claims against Traders Global Group Inc., a New
  Jersey corporation, Traders Global Group Inc., a Canadian business organization
  (together, “Traders Global”), and Murtuza Kazmi (collectively, “Defendants”) for
  the following violations of the Commodity Exchange Act (“Act”) and CFTC
  Regulations (“Regulations”):

       •   fraud in connection with retail forex and retail commodity transactions,
           pursuant to 7 U.S.C. § 6b(a)(2)(A), (C) and 17 C.F.R. § 5.2(b)(1), (3) (Counts
           I and II);

       •   acting as counterparty to retail foreign exchange transactions without
           registration as a retail foreign exchange dealer (“RFED”), in violation of 17
           C.F.R. § 5.3(a)(6)(i) (Count III);
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 2 of 11 PageID: 3607




     •   soliciting orders from retail forex customers without Defendant Kazmi
         having been registered as an associated person of an RFED, in violation of
         7 U.S.C. § 2(c)(2)(C)(iii)(I)(aa) and 17 C.F.R. § 5.3(a)(6)(ii) (Count IV); and

     •   off-exchange trading in retail commodity transactions, in violation of 7
         U.S.C. § 6(a) (Count V).

  The CFTC’s claims arise from Defendants’ “My Forex Funds” program, in which
  Defendants offered retail customers, in return for the payments of various fees,
  the opportunity to become “professional traders,” using Defendant Traders
  Global’s money to trade against third-party “liquidity providers” and sharing in
  any profits. Traders Global assured customers that “your success is our
  business,” and “we only make money when you do.”

  In reality, Defendant Traders Global was the counterparty to substantially all
  customer trades. Traders Global did not, therefore, make money when customers
  made money; Traders Global lost money when customers made money. Traders
  Global paid customers who traded successfully, but did so using fees paid by other
  customers, and not from the proceeds of profitable trading against “liquidity
  providers.”

  Traders Global used various devices to minimize the likelihood or amount of
  profitable trading by customers and reduce the “profits” Traders Global had to
  pay successful customers. Those devices included the use of specialized software
  to delay the execution of customer orders, or execute the orders at worse prices
  than appeared to the customer at the time the customer’s orders were sent.

  Defendant Kazmi is the CEO of Defendant Traders Global, and is liable as a
  controlling person for Traders Global’s violations of the Act or Regulations,
  pursuant to 7 U.S.C. § 13c(b).

  The CFTC seeks, inter alia, injunctive relief pursuant to 7 U.S.C. § 13a-1, in the
  form of an order enjoining Defendants from: (a) the conduct described in the
  complaint, i.e., My Forex Funds or another similar venture; (b) trading in
  commodity interests, or on or subject to the rules of a registered exchange; or (c),
  applying for registration with the CFTC or acting as principal of an entity
  required to be registered with the CFTC, or exempt from registration as provided
  in the Act or Regulations.

  The CFTC seeks monetary relief pursuant to 7 U.S.C. § 13a-1(d)(3) in the form of
  restitution for customer losses proximately caused by Defendants’ violations of
  the Act and Regulations, and disgorgement in the amount of gains Defendants
  received in connection with their violations. The CFTC currently estimates
  disgorgement to be approximately $151 million. The CFTC also seeks civil



                                             2
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 3 of 11 PageID: 3608




  penalties against Defendants in an amount not to exceed triple Defendants’
  monetary gains from their violations, per 7 U.S.C. § 13a-1(d)(1).

  Defendants’ Description of Defenses

  The CFTC’s claims lack merit for the following reasons.

     1. The Commodity Exchange Act and its corresponding Regulations do not
        apply to the conduct alleged.
           a. None of Traders Global’s customers ever invested any money in,
              with, or through Traders Global, and no customer of Traders Global
              was ever party to any contract or agreement to buy, sell, or trade any
              commodities, contracts for difference, or foreign currencies.
           b. All commodity and foreign exchange contracts were either simulated
              or entered into by Traders Global itself using its own capital.
              Therefore, Traders Global was never a “counterparty” to any trade
              with any of its customers.
     2. The CFTC’s fraud allegations will fail.
           a. Contrary to the CFTC’s allegations, Traders Global never
              represented to its customers that all customer trades would be
              executed against third-party liquidity providers, or that all
              customers would be permitted to trade with Traders Global’s capital.
              Traders Global disclosed that its customers would trade within
              simulated environments so that their trading and risk management
              skills could be evaluated.
           b. Traders Global’s motto, “Your success is our business,” is accurate;
              the business existed to cultivate profitable trading skills and to
              identify profitable traders so that both Traders Global and the
              traders can make money. The phrase, “we only make money if you
              make money,” appears exactly once on Traders Global’s website in
              the context of describing the lack of minimum trading volume
              requirements for Traders Global’s “Accelerated” program, which
              allows traders to skip the evaluation process and start trading
              immediately based on live market conditions.
           c. Traders Global always paid its customers, as agreed, for profitable
              trading—whether simulated or not.
           d. Traders Global truthfully disclosed to customers that their accounts
              would be subject to drawdown limits, which are industry-standard
              mechanisms intended to mitigate risk and discourage reckless
              trading.
           e. Because none of Traders Global’s customers invested money with
              Traders Global, none of the alleged misstatements could have been
              material to commodity of forex investment decisions. To date, the



                                          3
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 4 of 11 PageID: 3609




              CFTC has not provided evidence from a single customer to show that
              the alleged misstatements were material.
          f. Traders Global disclosed the commissions that would be assessed
              against its customers’ accounts.
          g. Traders Global implemented delay, slippage, and other settings on
              its simulated trading platform to mirror real market conditions.
              These industry-standard adjustments did not impact customers’
              decisions to do business with Traders Global.
          h. Traders Global disclosed that abusive trading practices, such as
              latency arbitrage and tick scalping, were strictly prohibited. Traders
              Global responded to abuse by implementing remedial measures on
              its trading platforms, consistent with widespread practice in the
              industry.
          i. Traders Global disclosed that most customers who advance to
              trading on “live” accounts do not trade prudently and perform poorly
              as a result.
          j. Traders Global consistently acted in good faith to respond to abusive
              trading practices and to treat its traders fairly. Even where Traders
              Global suspected abuse, it gave its traders the benefit of the doubt,
              and when it believed its traders were disadvantaged by errors in the
              trading platform, it took corrective action. Traders Global
              cooperated with Canadian regulators and would have done the same
              with the CFTC had it deigned to contact Traders Global prior to
              filing its complaint. There is no evidence of scienter.
     3. The CFTC’s registration allegations will fail.
          a. Traders Global did not enter into, offer to enter into, or serve as a
              counterparty to any transaction with any person who was not an
              eligible contract participant. The only commodities or foreign
              exchange contracts Traders Global entered were between itself, an
              eligible contract participant, and CDO Markets, another eligible
              contract participant.
     4. The CFTC knowingly misrepresented material facts to the Court.
          a. The CFTC’s lead investigator swore under penalty of perjury that
              over $31.5 million CAD had been transferred from Traders Global’s
              corporate account to Mr. Kazmi’s personal account, even though the
              investigator and the CFTC’s lead counsel had been explicitly
              informed that the $31.5 million transfer was a lawful tax payment.
              The CFTC continued to rely on this knowing misrepresentation to
              argue that all of Mr. Kazmi’s personal assets should remain frozen
              pending trial.
          b. Despite repeated opportunities to correct the record, the CFTC has
              not been forthright with the Court about its misrepresentations and
              should be sanctioned.
  Defendants seek dismissal of all causes of action alleged against them.

                                          4
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 5 of 11 PageID: 3610




       3.     The parties have engaged in preliminary settlement discussions.
 Counsel for the CFTC is working to formulate, and obtain authority from the
 CFTC’s Division of Enforcement to make, a provisional settlement offer, i.e., a
 settlement offer subject to approval by vote of the Commission.

        4.    The parties have met pursuant to Fed. R. Civ. P. 26(f). The meeting
 took place on December 13, 2023.

        5.     The parties have not yet exchanged the information required by Fed.
 R. Civ. P. 26(a)(1), but have agreed to exchange such information by the deadline
 set forth below, subject to the parties’ right to update, supplement, correct, or revise
 such disclosures as may be permitted or required under Fed R. Civ. P. 26(e).

       6.    The parties do not anticipate any problems in connection with
 completing the disclosures required by Fed R. Civ. P. 26(a)(1).

       7.     The parties have not filed any disclosure of third-party litigation
 funding per Local Rule 7.1.1 because there is no third-party litigation funding in
 this matter.

       8.     The parties have conducted discovery other than the above disclosures,
 pursuant to the Court’s earlier order on the CFTC’s motion for expedited discovery
 (ECF 10), and by agreement. Pursuant to the Court’s order dated November 14,
 2023 (ECF 135), discovery shall now proceed under the standard rules set forth in
 the Federal Rules of Civil Procedure and this Court’s Local Civil Rules.

       9.      Proposed joint discovery plan:

            a. The parties state that discovery is needed on the following subjects,
               without prejudice to either party’s right to seek discovery on additional
               subjects relevant to claims or defenses in the above-captioned action,
               and subject to each party’s right to object to discovery relating to any of
               the following subjects:

  Subjects for Discovery by Plaintiff

  Defendants’ documents and communications relating to My Forex Funds,
  including internal communications, and communications with customers and
  prospective customers;

  Defendants’ marketing of, public statements relating to, and social media or
  message board posts about, My Forex Funds;

  Defendants’ solicitation and receipt of fees or other income from customers;




                                             5
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 6 of 11 PageID: 3611




  The source and nature of payments made by Defendants in connection with My
  Forex Funds, including payments to customers, staff, and consultants;

  Defendants’ internal operations relating to My Forex Funds, including payroll
  and infrastructure, as well as identities of employees, contractors, and agents;

  Defendants’ trading of commodity interests relating to My Forex Funds; and

  Identities and involvement of third-parties in My Forex Funds, including third-
  party risk, technical, and marketing consultants, agents and service providers.

  Subjects for Discovery by Defendants

  All evidence supporting the CFTC’s allegations in the Complaint;

  All evidence supporting the declarations and oral testimony submitted by the
  CFTC’s counsel, investigators, and agents in connection with this case;

  Communications between the CFTC and the Ontario Securities Commission
  (“OSC”) regarding this case;

  Communications between the CFTC and any of Traders Global’s customers;

  Communications between the CFTC and any of Traders Global’s third-party
  vendors, consultants, or service providers;

  Documents and communications related to the CFTC’s investigation of the
  conduct alleged in the Complaint, including “Investigatory Materials” as defined
  in 17 C.F.R. § 10.42(b);

  Documents the CFTC obtained from any non-party in connection with the case;
  and

  Written statements and transcripts of oral testimony the CFTC obtained from
  any non-party in connection with this case.



          b. Discovery should not be conducted in phases or be limited to particular
             issues.




                                           6
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 7 of 11 PageID: 3612




              c. Proposed schedule:

     Item                                          Deadline

     E-Discovery conference pursuant to L.         January 16, 2024
     Civ. R. 26.1(d)

     Fed. R. Civ. P. 26(a)(1) disclosures          February 5, 2024

     Earliest date for service of initial          February 5, 2024
     written discovery

     Motions to amend or to add parties to         June 3, 2024
     be filed by

     Factual discovery to be completed by          October 20, 2024 1

     Plaintiff’s expert report(s) due on           Thirty days after the completion of fact
                                                   discovery

     Defendants’ expert report(s) due on           Thirty days after Plaintiff’s expert
                                                   report(s) is/are served

     Rebuttal expert report(s) due on              Thirty days after Defendants’ expert
                                                   report(s) is/are served

     Expert depositions to be completed by         Thirty days after rebuttal report(s)
                                                   is/are served

     Dispositive motions to be served within       Sixty
     the following number of days following
     completion of expert discovery



              d. With respect to “special discovery mechanisms or procedures:”

                i.   To the extent either party seeks evidence from non-party witnesses
                     located outside of the United States, the party seeking the evidence
                     may seek letters rogatory or other judicial relief, including
                     pursuant to the Convention of 18 March 1970 on the Taking of

 1
  The maximum number of interrogatories to be served or depositions to be taken
 shall be as provided in the Federal Rules of Civil Procedure, subject to the parties’
 agreement, or right to seek permission from the Court, to serve additional
 interrogatories or take additional depositions.

                                               7
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 8 of 11 PageID: 3613




                  Evidence Abroad in Civil or Commercial Matters (commonly
                  referred to as the “Hague Convention”) or other applicable law;

            ii.   The Parties agree that all subpoenas and other discovery requests
                  to non-parties will be served contemporaneously on counsel of
                  record for all Parties. Further, the Parties agree that after having
                  received any evidence from non-parties, including documents and
                  transcribed oral testimony, the Parties will share the evidence as
                  soon as practicable with counsel of record for all Parties.

           iii.   The Parties agree to accept e-mail service of all discovery
                  documents in this case. Service of discovery documents via e-mail
                  service shall be treated the same as personal service for response
                  deadline purposes.

           e. A pretrial conference may take place no later than thirty days before
              the trial.

           f. Trial date: TBD (Jury Trial)

        10.   The parties anticipate there will be depositions of out-of-state
 witnesses conducted remotely by video, e.g., Zoom or Teams, and that such
 depositions will be recorded stenographical and by audiovisual means. The parties
 agree to conduct depositions in this manner, and do not expect to seek intervention
 of the Court on the means or method of conducting depositions.

        11.    The parties do not anticipate any issues about disclosure or discovery
 of electronically stored information (“ESI”). The parties agree to produce all ESI in
 native format, unless such ESI is not available in native format, as well as in a
 format that is “load-ready” for standard e-discovery platforms, e.g., Relativity. The
 ESI shall be transmitted via file transfer protocol (“FTP”) site. If such transfer is
 impractical, ESI shall be transmitted via physical hard drive or between cloud-
 based servers, as determined by the parties on a production-by-production basis.

        The parties agree that documents identified in the parties’ Rule 26(a) Initial
 Disclosures or responsive to Rule 34 document requests will be produced on a
 rolling basis, without undue delay, after they have been located, Bates numbered,
 and reviewed for privilege. The Parties agree to work with reasonable diligence in
 searching for, reviewing, and producing such documents.

       12.    The parties anticipate the entry of a Discovery Confidentiality Order in
 a form yet to be determined.

       13.   The parties do not at this juncture anticipate any problems with
 discovery. However, Defendants request the Special Master’s assistance in


                                             8
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 9 of 11 PageID: 3614




 resolving the parties’ disagreement as to whether the proposed discovery limitations
 outlined below should apply.

 Defendants’ Position: In addition to the standard limitations set forth in the
 Federal Rules, Defendants propose the following limitations on discovery.
 Defendants contend that these limitations are appropriate because substantial
 discovery has already taken place, including the deposition of Mr. Kazmi, the
 deposition of Mr. Chichester, and the production of millions of documents procured
 by the CFTC from third parties. For the purpose of these proposed limitations, the
 CFTC would constitute one “side” and Defendants collectively would constitute the
 other “side.” These proposed limitations could be modified by written stipulation of
 the parties or order of the Court.

    •   Each side may serve a maximum of 30 Requests for Admission regarding
        substantive facts. Requests for Admission regarding the authenticity of
        documents shall not be subject to this limit.

    •   Each side may serve a maximum of 30 Requests for Production of Documents.

    •   Each side shall be limited to a maximum of 7 hours on the record for any
        deposition testimony taken pursuant to Rule 30(b)(6) of the Federal Rules of
        Civil Procedure.

 CFTC’s Position: The CFTC does not agree to Defendants’ proposed additional
 limitations, since they are not called for by or consistent with the Federal Rules of
 Civil Procedure, nor are they warranted under facts of the case. Further, any
 potential dispute regarding the number or scope of discovery requests remains
 theoretical because discovery has not commenced. Therefore, the CFTC does not
 believe that the issue is ripe for consideration by the Special Master.

        14.    The parties do not believe that this matter is appropriate for voluntary
 arbitration. Plaintiff’s position is that a formal resolution of this matter is required
 because (a) it is an enforcement action brought by a government regulatory agency
 in the public interest, and (b) the action involves policy concerns relating to the
 application of the Act and Regulations. The parties do not believe that this matter
 is appropriate for mediation at this juncture. Counsel for the parties have engaged
 in preliminary settlement discussions, and expect to engage in further
 communications regarding a potential resolution of this matter.

        15.   This case is not appropriate for bifurcation.

        16.   An interim status/settlement conference should be held in June 2024.

       17.    Defendants do not consent to the trial being conducted by a Magistrate
 Judge.


                                            9
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 10 of 11 PageID: 3615




        18.   The parties are currently aware of no other issues that should be
  addressed at the Rule 16 Scheduling Conference.



   December 15, 2023                     s/ Ashley J. Burden

                                         Commodity Futures Trading Commission
                                         Plaintiff
                                         77 West Jackson Blvd., Suite 800
                                         Chicago, IL 60604

                                         Ashley J. Burden
                                         Senior Trial Attorney
                                         Division of Enforcement
                                         Office: (312) 596-0693
                                         Cell: (312) 995-0779
                                         aburden@cftc.gov

                                         Katherine S. Paulson
                                         Trial Attorney
                                         Division of Enforcement
                                         Office: (312) 554-4559
                                         kpaulson@cftc.gov

                                         Elizabeth M. Streit
                                         Chief Trial Attorney
                                         Division of Enforcement
                                         Office: (312) 596-0537
                                         estreit@cftc.gov


                    [Defense counsel signature block on next page.]




                                          10
Case 3:23-cv-11808-ZNQ-TJB Document 155 Filed 12/15/23 Page 11 of 11 PageID: 3616




  December 15, 2023                By /s/ Anthony J. Staltari
                                      Anthony J. Staltari (Attorney ID. No.
                                      233022017)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      51 Madison Avenue, 22nd Floor
                                      New York, NY 10010
                                      Tel.: (415) 875-6600
                                      anthonystaltari@quinnemanuel.com

                                      Robert A. Zink (pro hac vice)
                                      Avi Perry (pro hac vice)
                                      Kurt Wolfe (pro hac vice)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      1300 I Street, NW, Suite 900
                                      Washington, D.C. 20005
                                      Tel.: (202) 538-8000
                                      robertzink@quinnemanuel.com
                                      aviperry@quinnemanuel.com
                                      kurtwolfe@quinnemanuel.com

                                      Dakota Speas (pro hac vice)
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
                                      865 S. Figueroa St., 10th Floor
                                      Los Angeles, CA 90017
                                      Tel.: (213) 443-3000
                                      dakotaspeas@quinnemanuel.com

                                      Craig Carpenito (Attorney ID No.
                                      027102000)
                                      Thomas J. Scrivo (Attorney ID No.
                                      307552019)
                                      KING & SPALDING LLP
                                      1185 Avenue of the Americas, 34th Floor
                                      New York, NY 10036
                                      Tel.: (212) 556-2142
                                      ccarpenito@kslaw.com
                                      tscrivo@kslaw.com

                                      Attorneys for Defendants


                                       11
